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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN

KIMBERLY NESTER,                              )
                                              )
       Plaintiff,                             )         Case No. 17-CV-10487
                                              )
       vs.                                    )         Judge Paul D. Borman
                                              )         Magistrate Mona K. Majzoub
CREDIT ONE FINANCIAL d/b/a                    )
CREDIT ONE BANK                               )
                                              )
       Defendant.                             )



                                 NOTICE OF SETTLEMENT

       Defendant Credit One Financial d/b/a Credit One Bank (“Defendant”), by its attorneys,

hereby notifies the Court that the parties have reached a settlement and are in the process of

executing a written settlement agreement, expect to complete the execution of that settlement in

the next 30 days, and intend to file a stipulation of dismissal upon completion of the settlement.



   Dated: March 8, 2017               Respectfully Submitted,


                                      CREDIT ONE FINANCIALD/B/A CREDIT ONE BANK

                                      By: /s/ Amy R. Jonker
                                      Amy R. Jonker (P73906)
                                      MAURICE WUTSCHER, LLP
                                      250 Monroe Avenue, N.W.
                                      Suite 400
                                      Grand Rapids, MI 49503
                                      Phone: 616-717-5677
                                      ajonker@mauricewutscher.com
                                      Attorneys for Credit One Financial d/b/a Credit One Bank




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                                    Certificate of Service

        The undersigned hereby certifies that, on this 8th day of March, 2017, I filed a copy of
the foregoing electronically and served the following by regular mail, postage-prepaid:

Kimberly Nester
8315 Mayfair
Taylor, MI 48180
Plaintiff, pro se

                                                     /s/ Amy R. Jonker




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